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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                Chapter 11

    AMYRIS, INC., et al.,1                                Case No. 23-11131 (TMH)

                             Debtors.                     (Jointly Administered)

                                                          Re: October 18, 2023 at 2:00 p.m. (ET)



WITNESS AND EXHIBIT LISTS OF THE OFFICIAL COMMITTEE OF UNSECURED
CREDITORS SUBMITTED IN CONNECTION WITH OCTOBER 18, 2023 HEARING

             PLEASE TAKE NOTICE that the Official Committee of Unsecured Creditors

(the “Committee”) submits the following lists of witnesses and exhibits in connection with the

evidentiary hearing scheduled for October 18, 2023 at 2:00 p.m. (ET) (the “Hearing”) before the

Honorable Thomas M. Horan, at the United States Bankruptcy Court for the District of Delaware,

located at 824 N. Market Street, 3rd Floor, Wilmington, Delaware 19801.

             WITNESS LIST

             A.    Joshua Wiley: Testimony by declaration of Joshua Wiley, related to all topics

included in the Declaration of Joshua Wiley in Support of the Omnibus Reply of the Official

Committee of Unsecured Creditors to (A) Objection of the Debtors and (B) Objection of the DIP

Lender and Foris Prepetition Lenders to the Committee's Application to Retain Jefferies LLC as

Investment Banker [Docket No. 533-1] or any additional declarations made by him that may be

filed in connection with the Application of the Official Committee of Unsecured Creditors for

Entry of sn Order (I) Authorizing the Retention and Employment of Jefferies LLC as Investment


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      A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal
      place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
      Emeryville, CA 94608.


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Banker Pursuant to 11 U.S.C. §§ 328(A) and 1103(A), Effective as of September 1. 2023 and (II)

Waiving Certain Time-Keeping Requirements [Docket No. 334] (the “Application”).

         B.    Leon Szlezinger. Testimony by declaration of Leon Szlezinger, related to all topics

included in the Declaration of Leon Szlezinger in Support of the Application of the Official

Committee of Unsecured Creditors for Entry of sn Order (I) Authorizing the Retention and

Employment of Jefferies LLC as Investment Banker Pursuant to 11 U.S.C. §§ 328(A) and 1103(A),

Effective as of September 1. 2023 and (II) Waiving Certain Time-Keeping Requirements [Docket

No. 334-3], First Supplemental Declaration of Leon Szlezinger in Support of the Application of

the Official Committee of Unsecured Creditors for Entry of an Order (I) Authorizing the Retention

and Employment of Jefferies LLC as Investment Banker Pursuant to 11 U.S.C. §§ 328(a) and

1103(a), Effective as of September 1. 2023 and (II) Waiving Certain Time-Keeping Requirements

[Docket No. 405], Second Supplemental Declaration of Leon Szlezinger in Support of the

Application of the Official Committee of Unsecured Creditors for Entry of an Order (I) Authorizing

the Retention and Employment of Jefferies LLC as Investment Banker Pursuant to 11 U.S.C. §§

328(a) and 1103(a), Effective as of September 1. 2023 and (II) Waiving Certain Time-Keeping

Requirements [Docket No. 496], Amended Second Supplemental Declaration of Leon Szlezinger

in Support of the Application of the Official Committee of Unsecured Creditors for Entry of an

Order (I) Authorizing the Retention and Employment of Jefferies LLC as Investment Banker

Pursuant to 11 U.S.C. §§ 328(a) and 1103(a), Effective as of September 1. 2023 and (II) Waiving

Certain Time-Keeping Requirements [Docket No. 503-1], Declaration of Leon Szlezinger in

Support of the Omnibus Reply of the Official Committee of Unsecured Creditors to (A) Objection

of the Debtors and (B) Objection of the DIP Lender and Foris Prepetition Lenders to the

Committee's Application to Retain Jefferies LLC as Investment Banker [Docket No. 533-2] or any



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additional declarations made by him that may be filed in connection with the Application.

         C.    Any other declarant of any party filed in connection with the Application.

         D.    Any witness listed by any party at any point in connection with the Application.

         E.    Any witness necessary for the purpose of authenticating documents or otherwise

seeking the admission of documents into evidence.

         F.    The Committee also cross designates all witnesses designated by any other party

in connection with the Hearing, and reserve the right to call any necessary rebuttal or

impeachment witnesses.

EXHIBIT LIST

   Ex. No.     Description
   UCC-A       Jefferies Engagement Letter dated September 1, 2023 [Docket No. 334-2]
    UCC-B      Declaration of Leon Szlezinger in Support of the Application of the Official
               Committee of Unsecured Creditors for Entry of sn Order (I) Authorizing the
               Retention and Employment of Jefferies LLC as Investment Banker Pursuant to
               11 U.S.C. §§ 328(A) and 1103(A), Effective as of September 1. 2023 and (II)
               Waiving Certain Time-Keeping Requirements [Docket No. 334-3]
    UCC-C      First Supplemental Declaration of Leon Szlezinger in Support of the Application
               of the Official Committee of Unsecured Creditors for Entry of an Order (I)
               Authorizing the Retention and Employment of Jefferies LLC as Investment
               Banker Pursuant to 11 U.S.C. §§ 328(a) and 1103(a), Effective as of September
               1. 2023 and (II) Waiving Certain Time-Keeping Requirements [Docket No. 405]
   UCC-D       Second Supplemental Declaration of Leon Szlezinger in Support of the
               Application of the Official Committee of Unsecured Creditors for Entry of an
               Order (I) Authorizing the Retention and Employment of Jefferies LLC as
               Investment Banker Pursuant to 11 U.S.C. §§ 328(a) and 1103(a), Effective as of
               September 1. 2023 and (II) Waiving Certain Time-Keeping Requirements
               [Docket No. 496]
    UCC-E      Amended Second Supplemental Declaration of Leon Szlezinger in Support of the
               Application of the Official Committee of Unsecured Creditors for Entry of an
               Order (I) Authorizing the Retention and Employment of Jefferies LLC as
               Investment Banker Pursuant to 11 U.S.C. §§ 328(a) and 1103(a), Effective as of
               September 1. 2023 and (II) Waiving Certain Time-Keeping Requirements
               [Docket No. 503-1]
    UCC-E      Declaration of Joshua Wiley in Support of the Omnibus Reply of the Official
               Committee of Unsecured Creditors to (A) Objection of the Debtors and (B)

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   Ex. No.     Description
               Objection of the DIP Lender and Foris Prepetition Lenders to the Committee's
               Application to Retain Jefferies LLC as Investment Banker [Docket No. 533-1]
    UCC-F      Declaration of Leon Szlezinger in Support of the Omnibus Reply of the Official
               Committee of Unsecured Creditors to (A) Objection of the Debtors and (B)
               Objection of the DIP Lender and Foris Prepetition Lenders to the Committee's
               Application to Retain Jefferies LLC as Investment Banker [Docket No. 533-2]

   UCC-G       Joinder of Euagore, LLC and The Foris Prepetition Secured Lenders to the
               Debtors’ Objection to Application of the Official Committee of Unsecured
               Creditors for Entry of an Order (I) Authorizing the Retention and Employment
               of Jefferies LLC as Investment Banker Pursuant to 11 U.S.C. §§ 328(a) and
               1103(a) [Docket No. 450]
   UCC-H       Ad Hoc Noteholder Group’s Statement in Support of the Application of the
               Official Committee of Unsecured Creditors for Entry of an Order (I) Authorizing
               the Retention and Employment of Jefferies LLC as Investment Banker Pursuant
               to 11 U.S.C. §§ 328(a) and 1103(a) [Docket No. 529]
    UCC-I      Statement of Ad Hoc Cross-Holder Group in Support of the Official Committee
               of Unsecured Creditors’ Application for Entry of an Order (I) Authorizing the
               Retention and Employment of Jefferies LLC as Investment Banker Pursuant to
               11 U.S.C. §§ 328(a) and 1103(a), Effective as of September 1, 2023 and (II)
               Waiving certain Time-Keeping Requirements [Docket No. 531]
    UCC-J      Any other document filed on the docket in connection with the Application.


         The Committee also cross designates all exhibits designated by any other party in

connection with the Hearing, and reserve the right to use additional exhibits for rebuttal or

impeachment purpose.

         PLEASE TAKE FURTHER NOTICE that the Committee reserves its rights to amend,

supplement, withdraw, and in any other way modify the witness or exhibit list prior to the

conclusion of the hearing on the Motions, including, but not limited to, in light of ongoing

discovery. The Committee also reserves its rights to introduce any exhibit listed by any other party

and to introduce witnesses or exhibits not identified above for rebuttal or impeachment purposes.




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Dated: October 16, 2023             Respectfully submitted,
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